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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                          CASE NO. 18-CV-24100-COOKE/GOODMAN


  DIGNA VINAS,

                 Plaintiff/Counter Defendant,

  v.

  THE INDEPENDENT ORDER
  OF FORESTERS,

              Defendant/Counter Plaintiff.
  ___________________________________/

                                      NOTICE OF HEARING

         PLEASE TAKE NOTICE that Defendant/Counter-Plaintiff The Independent Order of

  Foresters (“Foresters”) has scheduled a hearing before the Honorable Jonathan Goodman on

  March 27, 2020, at 4:30 P.M. at the James Lawrence King Federal Building, 99 Northeast Fourth

  Street, Room No. 1168, Miami, Florida 33132.          The parties dispute the relevance of the

  information sought in Foresters’ non-party subpoenas, and the timeliness of Plaintiff’s objections.

  On February 18, 2020, Foresters served Plaintiff with a Notice that it would be issuing five non-

  party subpoenas on: (1) the Hershman Medical Center (“Hershman”); (2) Humana, Inc.

  (“Humana”); (3) Kendall Regional Medical Center (“Kendall”); and (4) South Florida Diagnostic

  Imaging (“South Florida”). In the absence of any objections, Foresters issued the subpoenas for

  service. Thereafter, on February 24, 2020, Plaintiff’s counsel objected to the scope of the

  subpoenas. On March 3, 2020, Foresters served Plaintiff’s counsel with a Notice that it would be

  issuing an amended subpoena to Kendall at a different address. In the absence of any objections,

  Foresters issued the amended subpoena for service. Thereafter, on March 5, 2020, Plaintiff’s
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  counsel claimed that the subpoenas sought irrelevant information and instructed the recipients not

  to respond until the Court could address his objection.

                               Certificate of Good Faith Conference

         Pursuant to Local Rule 7.1(a)(3)(A), the undersigned certifies that she has conferred with

  counsel for Plaintiff and the parties have been unable to resolve the dispute.


  Dated: March 11, 2020                         MCDOWELL HETHERINGTON LLP
                                                Attorneys for Defendant/Counter Plaintiff
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                                  CERTIFICATE OF SERVICE

         I certify that on March 11, 2020, I electronically filed the foregoing with the Clerk of the
  Court by using the CM/ECF system which will send a notice of electronic filing to the following:

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                                        s/Kristina B. Pett
                                        Kristina B. Pett




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